Case 3:23-cv-02071-E   Document 38   Filed 04/03/24   Page 1 of 50   PageID 14072



                          CASE NO. 3:23-cv-02071-E


                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NOTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION


            IN RE: HIGHLAND CAPITAL MANAGEMENT, L.P.,
                              Debtor


               HUNTER MOUNTAIN INVESTMENT TRUST,
                           Appellant,

                                         v.

             HIGHLAND CAPITAL MANAGEMENT, L.P., et al


     On Appeal from the United States Bankruptcy Court for the Northern
                  District of Texas, Case No. 19-34054-slg11
                  The Honorable Judge Jernigan, Presiding


                        APPELLANT’S REPLY BRIEF

       Sawnie A. McEntire
       State Bar No. 13590100
       smcentire@pmmlaw.com
       1700 Pacific Avenue, Suite 4400
       Dallas, Texas 75201
       Telephone: (214) 237-4300
       Facsimile: (214) 237-4340

       Roger L. McCleary
       State Bar No. 13393700
       rmccleary@pmmlaw.com
Case 3:23-cv-02071-E   Document 38   Filed 04/03/24   Page 2 of 50   PageID 14073



       One Riverway, Suite 1800 Houston, Texas 77056
       Telephone: (713) 960-7315
       Facsimile: (713) 960-7347
       Attorneys for Petitioner
Case 3:23-cv-02071-E            Document 38             Filed 04/03/24            Page 3 of 50           PageID 14074




                                   I.        TABLE OF CONTENTS

 I.     TABLE OF CONTENTS .................................................................................i
 II.    TABLE OF AUTHORITIES ......................................................................... iii
 III.   Introduction......................................................................................................1
 IV.    Argument & Authorities .................................................................................. 3
        A.       HMIT has constitutional standing ......................................................... 3
                 1.        Appellees urge an erroneous standard of review ........................ 3
                 2.        HMIT plausibly pleaded an imminent injury-in-fact.................. 4
                 3.        HMIT alleged plausible, colorable facts supporting
                           “traceability” ............................................................................... 5
                 4.        HMIT has asserted plausible, colorable remedies ...................... 6
        B.       HMIT has prudential standing to assert both its individual and
                 derivative claims....................................................................................8
                 1.        Appellees again urge an erroneous standard of review .............. 9
                 2.        Appellees fail to address HMIT’s allegations that Seery
                           purposefully delayed GUC Certification ..................................11
                 3.        Appellees ignore legal authority rejecting a rigid analysis
                           of standing where a defendant’s conduct was undertaken
                           to destroy standing ....................................................................13
                 4.        Delaware law confers prudential standing on HMIT
                           under the “Prevention Doctrine”...............................................15
                 5.        HMIT is a “beneficial owner” under the DSTA .......................17
                 6.        HMIT’s status as a beneficial owner has been
                           “continuous”..............................................................................18
                 7.        HMIT has individual injuries distinct from the Claimant
                           Trust ..........................................................................................20
        C.       HMIT is “in the money”......................................................................20
                 1.        HMIT has standing to seek declaratory relief...........................22
        D.       The bankruptcy court impermissibly extended the Barton

                                                           -i-
Case 3:23-cv-02071-E          Document 38            Filed 04/03/24            Page 4 of 50           PageID 14075



               Doctrine ...............................................................................................22
       E.      HMIT has plead colorable and plausible claims .................................28
       F.      The Bankruptcy Court’s Co-Opted Process is not Consistent
               with Fifth Circuit Precedent and Denied HMIT Due Process ............ 29
               1.       Seery was in possession of MNPI.............................................30
               2.       Seery’s Compensation is Excessive and Never Approved
                        by the Court ...............................................................................32
               3.       Public Information was insufficient to support Outside
                        Purchasers’ claims purchase .....................................................35
               4.       Other mischaracterizations and merits based attacks ............... 38
       G.      The Bankruptcy Court Erred in Ignoring Stern v. Marshall ............... 40
       H.      HMIT’s Proposed Claims are Brought for a Proper Purpose and
               With Foundation ..................................................................................41
       I.      The notices under Bankruptcy Rule 3001 are irrelevant.....................42
 V.    CONCLUSION..............................................................................................43
 VI.   CERTIFICATE OF COMPLIANCE ............................................................44




                                                        -ii-
Case 3:23-cv-02071-E                 Document 38              Filed 04/03/24             Page 5 of 50            PageID 14076



                                     II.       TABLE OF AUTHORITIES

 Cases
 Bamford v. Penfold, L.P., 2020 WL 967942, at *29-30 (Del. Ch. Feb. 28, 2020)..19
 Barton v. Barbour, 104 U.S. 126 (1881) .................................................................24
 Becker v. Noe, No. CV ELH-18-00931, 2019 WL 1415483, at *18 (D. Md. Mar.
   27, 2019) ...............................................................................................................23
 Blanchard 1986, Ltd. v. Park Plantation, LLC, 553 F.3d 405, 409 (5th Cir. 2008) .9
 Carroll v. Abide, 788 F.3d 502, 506 (5th Cir. 2015) ........................................ 24, 25
 Chandler v. Phoenix Servs., 419 F. Supp. 3d 972, 988 (N.D. Tex. 2019) ....... 29, 34
 Dunlap v. State Farm Fire and Cas. Co., 878 A.2d 434, 442 (Del. 2005) ...... 12, 13
 Estate of Cornell v. Johnson, 367 P.3d 173, 178 (Idaho 2016) ...............................16
 Exec. Benefits Ins. Agency v. Arkison, 573 U.S. 25, 31 (2014) ...............................41
 Gen. Land Office v. Biden, 71 F.4th 264, 272 (5th Cir. 2023) ..................................3
 Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787, 795-805 & nn. 2, 41
   (5th Cir. 2011) ........................................................................................... 9, 10, 11
 In re AbbVie Inc. Stockholder Derivative Litig., No. 9983-VCG, 2015 WL
   4464505, at *4 (Del. Ch. July 21, 2015) ..............................................................15
 In re Allied Sys. Holdings, Inc., 524 B.R. 598 (Bankr. D. Del. 2015) ....................41
 In re Deepwater Horizon, 732 F.3d 326, 340-41 (5th Cir. 2013) .............. 11, 23, 27
 In re Matter of Highland Capital Management, L.P., 48 F.4th 419 (5th Cir. 2022)
    ...................................................................................................................... passim
 In re National Collegiate Student Loan Trusts Litigation, 251 A.3d 116, 185-86
   (Del. Ch. 2020) .....................................................................................................13
 In re Phoenix Petroleum Co., 278 B.R. 385 (Bankr. E.D. Pa. 2001) ......................23
 In re Provider Meds, LP, 514 B.R. 473, 476 (N.D. Tex. 2014) ..............................25
 In the Matter of Mobile Steel Co, 563 F.2d 692, 699 n.10 (5th Cir. 1977) ...............7
 Injective Labs Inc. v. Wang, No. CV 22-943-WCB, 2023 WL 3318477, at *7 (D.
   Del. May 9, 2023) .................................................................................................16
 King v. Baylor University, 46 F.4th 344, 367 (5th Cir. 2022) ...................................7
 Kirkman v. Wilmington Tr. Co., 61 F. Supp. 651, 654 (D. Del. 1945)....................22
 Lewis v. Anderson, 477 A.2d 1040 (Del. 1984).......................................................14
 Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) ..................................... 3, 4, 10
 Man Roland, Inc. v. Kreitz Motor Exp., Inc., 438 F.3d 476, 478 (5th Cir. 2006) ...30
 Maxim Crane Works, L.P. v. Zurich Am. Ins. Co., 11 F.4th 345, 350 (5th Cir. 2021)
    ................................................................................................................................3
 Miller v. Sam Houston State Univ., 986 F. 3d 880, 893 (5th Cir. 2021) .................43
 Morris v. Spectra Energy Partners (DE) GP, LP, 246 A.3d 121, 136 (Del. 2021)
    ....................................................................................................................... 10, 14

                                                                -iii-
Case 3:23-cv-02071-E               Document 38             Filed 04/03/24           Page 6 of 50           PageID 14077



 Pepper v. Litton, 308 U.S. 304-11 (1939) .................................................................7
 Reese v. Bureau of Alcohol Tobacco Firearms & Explosives, 647 F. Supp. 3d 508,
   516 (W.D. La. 2022)...................................................................................... 30, 40
 Rende v. Rende, No. 2021-0734-SEM, 2023 WL 2180572, at *11 (Del. Ch. Feb.
   23, 2023) ...............................................................................................................12
 Richardson v. United States, 468 U.S. 317 (1984) ........................................... 23, 27
 Scanlan v. Eisenberg, 669 F.3d 838, 844 (7th Cir. 2012) ................................. 17, 18
 SDF Funding LLC v. Fry, 2021 WL 4519599, at *2 (Del. Ch. Oct. 4, 2021).........14
 SEC v. Cuban, 2013 WL 791405, at *33 (N.D. Tex. Mar. 5, 2013) .......................31
 Shaev v. Wyly, 1998 WL 13858, at *4 (Del. Ch. Jan. 6, 1998) ........................ 15, 19
 Snow Phipps Group, LLC v. Kcake Acquisition, Inc., No. CV 2020-0282-KSJM,
   2021 WL 1714202, at *1 (Del. Ch. Apr. 30, 2021) .............................................16
 Stern v. Marshall, 564 U.S. 462 (2011) ............................................................ 40, 41
 Unit Trainship, Inc. v. Soo Line R. Co., 905 F.2d 160, 162-63 (7th Cir. 1990) ......13
 United States v. Contorinis, 692 F.3d 136, 144 (2d Cir. 2012) ...............................31
 W & G Seaford Associates, L.P. C. E. Shore Markets, Inc., 714 F. Supp. 1336,
   1341 (D. Del. 1989) ..............................................................................................16
 Williams v. Time Warner Operation, Inc., 98 F.3d 179, 181 (5th Cir. 1996) .........30
 Statutes
 Bankruptcy Code 510(c) ............................................................................................7
 DEL. CODE. ANN. TIT. 12, § 3806(c) .........................................................................12
 DTSA § 3809 ...........................................................................................................12
 Section 3801 .............................................................................................................17
 Section 510(c) ............................................................................................................7
 Other Authorities
 RESTATEMENT (SECOND) OF CONTRACTS, Section 245 ............................................15
 RESTATEMENT (THIRD) OF TRUSTS 94, cmt. B .........................................................17
 Rules
 Federal Rule of Civil Procedure 12(b)(6) ............................................................9, 43




                                                             -iv-
Case 3:23-cv-02071-E       Document 38       Filed 04/03/24     Page 7 of 50     PageID 14078



                                    III.   Introduction 1

        HMIT’s pleadings establish its constitutional and prudential standing to assert

 the colorable claims pleaded. HMIT alleged it is a vested beneficiary entitled to sue

 and asserted plausible tort claims against Appellees for dissipating trust assets to

 HMIT’s and innocent beneficiaries’ detriment. Rather than accept those pleadings

 as true, the bankruptcy court resolved HMIT’s claims before it could pursue them—

 substituting an evidentiary analysis for the pleading-stage analysis the law required,

 while also denying HMIT any meaningful discovery. In doing so, the bankruptcy

 court erred as a matter of law.

        Appellees raise numerous arguments to avoid this straightforward outcome

 but ignore the proper standard of review and HMIT’s pleadings. For example,

 Appellees argue that HMIT lacks either constitutional or prudential standing

 because, purportedly, HMIT’s interest under the CTA is “unvested.” But HMIT

 specifically pleaded that it is a vested beneficiary with supporting facts; pleaded that

 all conditions precedent to suit had been satisfied; and even pleaded for a declaration

 acknowledging HMIT’s vested status. Those pleadings control, and Appellees have




 1
   Appellant HMIT uses the same defined terms as used in its Opening Brief, Docket No. 29
 (“HMIT Brief”). Appellant refers to the Answer Brief of Appellees, the Highland Parties, (Dkt.
 No. 35) as the “Highland Brief” and the Brief of Claim Purchaser Appellees (Dkt. No. 34) as the
 “OP Brief.” HMIT refers to Appellees collectively as “Appellees,” unless indicated otherwise.

                                               1
Case 3:23-cv-02071-E     Document 38     Filed 04/03/24   Page 8 of 50    PageID 14079



 no answer for them. As a matter of law, Appellees may not manipulate the standing

 analysis by refusing to acknowledge HMIT’s vested status and HMIT’s pleadings.

       Appellees similarly misstep in arguing that HMIT’s claims are not

 “colorable.” At least the Outside Purchasers acknowledge that the proper analysis is

 not evidentiary [See OP Brief, pp.19-20,37]—and, if it were, the bankruptcy court’s

 denial of meaningful discovery would be a problem. Rather, the Outside Purchasers

 allege that HMIT’s pleadings are “speculative” or “conclusory” and therefore not

 “colorable.” Id., pp.21,43.     The Highland Parties diverge from the Outside

 Purchasers on the “evidence” issue, championing a full-blown evidentiary analysis

 even though HMIT had no meaningful discovery. No Appellee gets it right.

       HMIT’s pleadings are specific and robust—not bare-bones or formulaic that

 some courts deem conclusory. Nor are HMIT’s pleadings speculative; instead, they

 allege sufficient factual detail to state plausible claims and allow reasonable

 inferences of liability. While Appellees may seek to rebut the allegations after

 discovery and with evidence at a later stage, the sole question now is whether HMIT

 pleaded colorable/plausible claims under the applicable standard, and HMIT has

 done so. As for the Highland Parties, they miss the mark entirely—offering an

 evidentiary-laden analysis perhaps appropriate for a post-trial appeal, but not a pre-

 suit inquiry on HMIT’s right to sue at all.




                                           2
Case 3:23-cv-02071-E     Document 38     Filed 04/03/24    Page 9 of 50    PageID 14080



       Ultimately, Appellees fail to justify the error and patent unfairness of the

 bankruptcy court’s rulings or its use of a heightened standard of “colorability” that

 is inappropriate at this early stage. The Court should reverse.

                           IV.    Argument & Authorities

 A.    HMIT has constitutional standing
       The OP Brief challenges constitutional standing as to HMIT’s individual

 claims. Even then, the Outside Purchasers’ constitutional standing challenges are

 incorrect because HMIT adequately pleaded the requisite injury-in-fact, traceability,

 and redressability.

       1.     Appellees urge an erroneous standard of review

       Initially, Appellees’ arguments ignore the controlling legal standard.

 Constitutional standing at the pleading stage is determined on the pleadings—not

 evidence or the merits of the pleaded claims. Gen. Land Office v. Biden, 71 F.4th

 264, 272 (5th Cir. 2023) (“At the pleading stage, general factual allegations of injury

 resulting from the defendant's conduct may suffice, for on a motion to dismiss we

 presume that general allegations embrace those specific facts that are necessary to

 support the claim.”) (cleaned up) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555,

 561 (1992)); see Maxim Crane Works, L.P. v. Zurich Am. Ins. Co., 11 F.4th 345, 350

 (5th Cir. 2021) Stated otherwise, standing arguments based on lack of evidence are

 not appropriate at the pleadings stage. Lujan, 504 U.S. at 561.


                                           3
Case 3:23-cv-02071-E          Document 38        Filed 04/03/24      Page 10 of 50      PageID 14081



           Despite these controlling authorities, Appellees masquerade merits challenges

 and fact disputes as constitutional standing challenges. Because HMIT’s pleadings

 control, those arguments are irrelevant.

           2.     HMIT plausibly pleaded an imminent injury-in-fact

           Under the correct pleading-centric analysis, HMIT sufficiently pleaded an

 imminent injury-in-fact because HMIT alleged “general factual allegations of injury”

 and more. Lujan, 504 U.S. at 561. HMIT alleged it suffered an injury-in-fact by the

 diminution of value of HMIT’s interest in the Claimant Trust and because it has been

 deprived of its GUC Certification (and accompanying rights) evidencing its vested

 status.2 Because HMIT effectively alleges it is in the money,3 every dollar paid to

 Seery in excessive compensation is one dollar that will never flow (but should flow)

 to HMIT. No conjecture or speculation is required for the asserted injury, which is

 not only imminent, but immediate and ongoing. 4

           Moreover, HMIT’s Motion to Modify (ROA.10062) sets forth new financial

 data not available until after the hearing—including previously withheld financial

 disclosures regarding the value of the estate’s assets. 5 This data corroborates


 2
     ROA.3339, 3362-67.
 3
     ROA.3342.
 4
   HMIT demonstrated why its allegations are not speculative or hypothetical, including identifying
 the who, when and what to satisfy relevant pleading requirements. HMIT Brief, pp.14,26-27.
 5
     Appellees cite the bankruptcy court’s ruling that these disclosures were “not materially different


                                                    4
Case 3:23-cv-02071-E      Document 38       Filed 04/03/24     Page 11 of 50      PageID 14082



 HMIT’s pleadings that it was in the money and should have been deemed vested.

 ROA.10064. This is also true of evidence at the hearing, which corroborated HMIT’s

 pleadings. ROA. 009614-15 (testimony there was well over $100 million in assets

 available after payment of expenses and Classes 8 and 9 Claims). Appellees

 presented no contrary evidence.

        3.     HMIT alleged plausible, colorable facts supporting “traceability”

        The Outside Purchasers argue that the asserted injury is not traceable to their

 challenged conduct because they owed no duties and were not statutory insiders (OP

 Brief, p.27). Both arguments misconstrue HMIT’s claims.

        HMIT alleged that Seery and the Outside Purchasers agreed to a quid pro quo

 arrangement, including by accepting MNPI, rubber-stamping Seery’s ongoing

 compensation, aiding and abetting Seery’s breaches of fiduciary duty, and delaying

 payment of Classes 8 and 9, which injured the Claimant Trust and HMIT. That injury

 is directly tied and traceable to the misconduct alleged.

        To avoid this outcome, the Outside Purchasers rely on cases addressing a

 purported lack of duties owed by claims purchasers to bankruptcy estates in general.

 (OP Brief, pp.28-29). Those authorities are irrelevant because they do not address


 than information what was already on file in the bankruptcy.” ROA.1046. The bankruptcy court
 was incorrect. The balance sheet attached to HMIT’s Motion to Alter (ROA.10070) was not
 disclosed before the June 8 Hearing, and it included new financial disclosures for which HMIT
 was not allowed prior discovery or analysis. Regardless, if the disclosures were materially the
 same, each would only confirm that HMIT was “in the money” before the June 8 Hearing.

                                               5
Case 3:23-cv-02071-E        Document 38       Filed 04/03/24       Page 12 of 50      PageID 14083



 HMIT’s core allegations, which include ongoing conduct, post-Effective Date, that

 damaged the Claimant Trust and HMIT. 6 This includes the Outside Purchasers’

 aiding and abetting breaches of fiduciary duty.7

          A core element of HMIT’s standing allegations is that Appellees’ wrongful

 conduct directly injures the Claimant Trust by depleting its assets and directly injures

 HMIT because it delays HMIT’s GUC Certification under the CTA.8 The scheme to

 delay and prevent HMIT’s GUC Certification and vesting as a “Claimant Trust

 Beneficiary” separately infringed on HMIT’s rights under the CTA. 9 This Court

 need not look any further than the Appellees’ briefs to evidence this injury—where

 Appellees urge this Court to find no standing, relying on Seery’s bad faith refusal to

 perform a ministerial act he should have performed long ago.

          4.     HMIT has asserted plausible, colorable remedies

          HMIT’s proposed Complaint seeks viable remedies to redress the asserted

 injuries, some of which stem from the bankruptcy court’s equitable powers of

 6
   The bankruptcy court’s Order Denying Leave mischaracterized HMIT’s claims by focusing on
 general characterizations of claims trading as “highly unregulated.” ROA.894. The bankruptcy
 court’s determination that Outside Purchasers’ “lack of due diligence in this context does not
 reasonably seem suspicious” is also not only an improper finding at the pre-pleading stage, but
 also non-sensical that Outside Purchasers would invest over $160 million without due diligence.
 ROA.9592-95, 9602-04.
 7
   HMIT does not concede that the Outside Purchasers are not statutory insiders. But it is irrelevant
 to the outcome. The Outside Purchasers do admit they became fiduciaries after the Effective Date
 when HMIT’s claims fully accrued. OP Brief, p.34.
 8
     ROA.3335, 3339, 3341-42, 3357, 3359, 3363.
 9
     See ROA.3335, 3339, 3362-63.

                                                  6
Case 3:23-cv-02071-E        Document 38       Filed 04/03/24       Page 13 of 50      PageID 14084



 subordination and equitable disallowance. In the Matter of Mobile Steel Co, 563 F.2d

 692, 699 n.10 (5th Cir. 1977); accord Pepper v. Litton, 308 U.S. 304-11 (1939).

 Others arise under common law.

          The Outside Purchasers’ argument that equitable subordination is unavailable

 under Bankruptcy Code 510(c) presumes HMIT has an equity interest. The Outside

 Purchasers admit, however, that “the Claims were exchanged for interests in the

 Claimant Trust.” OP Brief, p.32. As a result, Section 510(c) and the Appellees’

 related authorities are inapplicable.10 Equitable disallowance is also not precluded

 as a viable remedy, as the Fifth Circuit suggested in Mobile Steele, 563 F.2d at 699

 n.10. 11

          Imposition of a constructive trust and disgorgement remain viable remedies.

 The Fifth Circuit’s decision in King v. Baylor University, 46 F.4th 344, 367 (5th Cir.

 2022), establishes that a party may plead unjust enrichment as a quasi-contract cause

 of action. As the Fifth Circuit held, “[t]he district court erred by implying that unjust

 enrichment is a facially invalid theory. Its availability in this circumstance is narrow,

 but the claim exists.” King, 46 F.4th at 367 (emphasis added). Thus, Appellees’

 assertion that unjust enrichment is unavailable misstates the law. See OP Brief, p.35.


 10
    Outside Purchasers cite In re Perry, 425 B.R. 323, 380 (Bankr. S.D. Tex. 2010) and In re Winstar
 Commc’ns, Inc., 554 F.3d 382, 414 (3d Cir. 2009) to suggest that a claim many not be subordinated
 to an equity interest; however, these cases are inapposite because they are pre-Effective Date, pre-
 reorganization cases. Here, there are no longer “claims and “equity interests.”
 11
      See HMIT Brief, pp.37-38.

                                                  7
Case 3:23-cv-02071-E       Document 38        Filed 04/03/24       Page 14 of 50      PageID 14085



        Here, a constructive trust is also appropriate because the Outside Purchasers

 and Seery agreed to a quid pro quo arrangement for their mutual benefit; no contract

 governs that agreement. Disgorgement and constructive trust are also appropriate to

 redress HMIT’s injury caused by a breach of fiduciary duties and the aiding and

 abetting of those breaches. See HMIT Brief, p.39. Appellees cite no authority to

 support their argument that “without equitable disallowance or equitable

 subordination … there will be nothing to disgorge.” OP Brief, p.35. Disgorgement,

 constructive trust, and unjust enrichment are available under Delaware law

 regardless of disallowance or subordination. HMIT has alleged that the Claims

 Purchasers should, at a minimum, “be forced to disgorge all distributions over and

 above their original investment” in the Disputed Claims. HMIT’s Proposed

 Complaint, ¶¶ 91-93, ROA.3361.

 B.     HMIT has prudential standing to assert both its individual and derivative
        claims12




 12
    The OP Brief addresses the “person aggrieved” test, which is a species of standing applicable to
 appeals from bankruptcy court orders. OP Brief, p.23. This special bankruptcy appellate standing
 standard ensures that a party appealing a bankruptcy court order has a direct financial stake in it—
 and is not a mere bankruptcy participant that is only indirectly affected. ROA.899 (collecting
 cases). Here, the challenged order directly impacts HMIT; HMIT is the primary party harmed by
 the adverse order. Relatedly, the order “burdens” HMIT’s “pocket,” (OP Brief, p.37), because
 HMIT has alleged that it is in in the money—and the bankruptcy court’s order allows depletion of
 further assets that should flow directly down to HMIT. Thus, HMIT’s appellate standing is
 different from that of other former equity in other unrelated proceedings, which the bankruptcy
 court cited. ROA.899. HMIT asserted allegations that it has been directly and adversely affected
 pecuniarily. ROA.003335;ROA.003341,ROA.003357-67;ROA.001854-55;ROA.001880-82.

                                                  8
Case 3:23-cv-02071-E   Document 38     Filed 04/03/24    Page 15 of 50   PageID 14086



       Appellees’ next argument that HMIT is not a “beneficial owner” with

 prudential standing, either individually or derivatively, fails as a matter of both

 procedural and substantive Delaware law.

       1.     Appellees again urge an erroneous standard of review

       Appellees attack prudential standing by relying upon factual allegations

 outside the four corners of HMIT’s proposed Verified Complaint. ROA.003331-

 3367. Because the pleadings control, Appellees’ arguments, and the bankruptcy

 court’s adoption of them, are erroneous. See Blanchard 1986, Ltd. v. Park

 Plantation, LLC, 553 F.3d 405, 409 (5th Cir. 2008) (dismissal for lack of standing

 should be determined under Rule 12 pleading standards). Indeed, when prudential

 standing is resolved “at the motion-to-dismiss stage,” the challenge is appropriately

 raised under Federal Rule of Civil Procedure 12(b)(6), and a court’s “inquiry is

 limited to whether the plaintiff’s complaint plausibly states a non-speculative claim

 for damages.” Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787, 795-805

 & nn. 2, 41 (5th Cir. 2011).

       Here, HMIT alleged that its interest under the CTA is fully vested as a

 “Claimant Trust Beneficiary.” See Proposed Complaint, ¶24 [ROA.3342]. The

 proposed Complaint also included factual allegations that:

       • HMIT’s “vested” status derived from “the current value of the
         Claimant Trust Assets;” ¶24



                                          9
Case 3:23-cv-02071-E       Document 38       Filed 04/03/24      Page 16 of 50       PageID 14087



        • Seery unreasonably delayed recognition of HMIT’s vesting; ¶15

        • all conditions precedent had been satisfied; ¶102 and

        • requested declaratory relief to acknowledge its individual and
          derivative standing. ¶99(f)

        Each of these allegations sufficiently pleaded HMIT’s prudential standing.

 Lujan, 504 U.S. at 561 (“At the pleading stage, general factual allegations of injury

 resulting from the defendant’s conduct may suffice…”). At this early stage, and

 particularly in the absence of meaningful discovery, HMIT’s pleadings should have

 been taken as true. Harold, 634 F.3d at 795-805 & nn.2, 41.

        As a matter of law, HMIT’s prudential standing also derives from its capacity

 as a “beneficial owner” under the Delaware Statutory Trust Act (“DSTA”). Its

 standing as a vested beneficiary under the CTA is separately based on well-pleaded

 factual allegations that it was in the money and a breach of Seery’s duty of good

 faith.13 These factual averments should have been accepted. See Morris v. Spectra

 Energy Partners (DE) GP, LP, 246 A.3d 121, 136 (Del. 2021).

        But, here, the bankruptcy court disregarded Fifth Circuit precedent by

 imposing an erroneous burden in an improper evidentiary proceeding. See In re



 13
   HMIT effectively pleaded Seery has breached his duties of good faith and fair dealing, including
 his scheme “to delay recognition of HMIT’s vesting of its interests under the CTA,” disclosing
 MNPI to the Outside Purchasers in order to receive excessive compensation, and attempting to
 prevent HMIT from asserting its rights as a beneficial owner and as a vested contingent
 beneficiary. ROA.3335, 3339, 3341, 3348-54; HMIT Brief, p. 45.

                                                10
Case 3:23-cv-02071-E      Document 38   Filed 04/03/24    Page 17 of 50   PageID 14088



 Deepwater Horizon, 732 F.3d 326, 340-41 (5th Cir. 2013) (a “colorable” claim is

 one with “some possible validity”) (citation omitted), Harold H. Huggins Realty.,

 634 F.3d at 795-805 & n. 41 (“inquiry is limited to whether the plaintiffs’ complaint

 plausibly states a non-speculative claim for damages”); see also ROA.904-905. The

 result was reversible error.

          Although HMIT alleged it was in the money (i.e., its interest should be

 declared as vested), the bankruptcy court and Appellees ignored this and related

 allegations. Highland Brief, ¶¶61-62. Regardless, even if “evidence” is considered,

 Appellees offered no evidence rebutting HMIT’s “math” placing it “in the money.”14

 In sum, the bankruptcy court relied upon a record devoid of evidence that the estate’s

 assets were insufficient to pay Classes 8 and 9 in full—when HMIT’s pleadings

 claim otherwise and when the only information Appellees had disclosed showed

 more than sufficient assets. 15

          2.    Appellees fail to address HMIT’s allegations that Seery
                purposefully delayed GUC Certification

          Even assuming the bankruptcy court could look beyond HMIT’s pleadings (it

 could not), the bankruptcy court still erred when it denied HMIT’s prudential

 standing. Appellees (and the bankruptcy court) rely on Section 1.1(h) of the CTA,



 14
      See ROA.10065-66.
 15
      ROA.10065-66.

                                          11
Case 3:23-cv-02071-E       Document 38   Filed 04/03/24   Page 18 of 50    PageID 14089



 arguing that because the “vesting” condition (issuance of the GUC certification),

 which they control, never occurred, then HMIT cannot have prudential standing.

 Highland Brief, p.28-29. But the foundation of this argument is illusory.

          Seery, as Claimant Trustee, owed (and still owes) HMIT duties of good faith

 and fair dealing, which cannot be waived or disclaimed under the DSTA. DEL. CODE.

 ANN. TIT. 12, § 3806(c). Under binding Delaware law, Seery cannot unilaterally (and

 knowingly) prevent the occurrence of a condition precedent to insulate himself and

 deprive HMIT of expectancies under the CTA. See Dunlap v. State Farm Fire and

 Cas. Co., 878 A.2d 434, 442 (Del. 2005). This legal principle applies with extra

 force here, where HMIT seeks a declaration that HMIT’s interests under the CTA

 were fully vested and alleged that Seery is attempting to exhaust financial resources

 and delay recognition of HMIT’s vesting. 16

          The Claimant Trustee is a proposed defendant, and he controls the ministerial

 act of issuing the GUC Certification triggering the CTA’s vesting condition. But, as

 a trustee of a Delaware statutory trust, Seery has duties set forth in common law,

 including the duties of loyalty, good faith, and due care. See DTSA § 3809; Rende

 v. Rende, No. 2021-0734-SEM, 2023 WL 2180572, at *11 (Del. Ch. Feb. 23, 2023).

 Although a governing trust agreement (such as the CTA) may disclaim some of these



 16
      See ROA.3335, 3339, 3362-63.

                                            12
Case 3:23-cv-02071-E    Document 38     Filed 04/03/24    Page 19 of 50   PageID 14090



 duties, Delaware law prohibits any disclaimer of the duty of good faith and fair

 dealing. In re National Collegiate Student Loan Trusts Litigation, 251 A.3d 116,

 185-86 (Del. Ch. 2020) (“the DSTA forbids parties from eliminating the implied

 contractual covenant of good faith and fair dealing”) (cleaned up) (citing DSTA §

 3806(c)).

       This duty of good faith is particularly important here, where HMIT’s

 “vesting” status is purportedly dependent upon Seery’s control. “Stated in its most

 general terms, the implied covenant requires a party in a contractual relationship to

 refrain from arbitrary or unreasonable conduct which has the effect of preventing the

 other party to the contract from receiving the fruits of the bargain.” Dunlap v. State

 Farm Fire and Cas. Co., 878 A.2d 434, 442 (Del. 2005) (internal quotations

 omitted); see Unit Trainship, Inc. v. Soo Line R. Co., 905 F.2d 160, 162-63 (7th Cir.

 1990) (“[W]here a party’s obligation is subject to a condition precedent, a duty of

 good faith and fair dealing is imposed upon that party to cooperate and to not hinder

 the occurrence of the condition.”).

       3.     Appellees ignore legal authority rejecting a rigid analysis of
              standing where a defendant’s conduct was undertaken to destroy
              standing

       The Delaware Supreme Court has held that a standing analysis should be more

 flexible when a defendant controls the facts giving rise to standing. By way of

 example, although standing to assert derivative claims in the context of mergers


                                          13
Case 3:23-cv-02071-E    Document 38      Filed 04/03/24    Page 20 of 50    PageID 14091



 typically requires equity ownership, there are exceptions. One of these exceptions

 includes when “the merger itself is the subject to a fraud claim, perpetrated to

 deprive shareholders of their standing to bring or maintain a derivative action.”

 Morris, 246 A.3d at 129 (Del. 2021) (citing Lewis v. Anderson, 477 A.2d 1040 (Del.

 1984)) (emphasis added); SDF Funding LLC v. Fry, 2021 WL 4519599, at *2 (Del.

 Ch. Oct. 4, 2021) (“equitable standing . . . dr[aws] upon the principle that equity

 attempts ‘to ... ascertain, uphold, and enforce rights and duties which spring from

 the real relations of parties.’”) (citation omitted). Morris stands for the proposition

 that strict adherence to formulaic standing must yield where the defendant’s unfair

 conduct attempts to destroy standing.

       Here, HMIT alleges Seery is attempting to “exhaust financial resources in an

 effort to delay recognition of the vesting of HMIT’s interests.” See Proposed

 Complaint at ¶¶ 4-5, 14-16, 24, 74, 99; ROA.3335, 3339-40, 3342, 3359, 3362-63.

 Every dollar improperly spent on Seery was one less dollar available for distribution

 to HMIT because Seery was causing delay. This injures HMIT, individually,

 separate and apart from injuries to the Claimant Trust. Specifically, HMIT alleged

 that “[a]s part of the scheme, Seery is attempting to delay recognition of HMIT’s

 vesting of its interests under the CTA,” and that Seery is continuing self-serving

 tactics to “exhaust financial resources in an effort to delay recognition of the vesting

 of HMIT’s interests,” Proposed Complaint, ROA.3335,3339,3363. See Shaev v.


                                           14
Case 3:23-cv-02071-E    Document 38     Filed 04/03/24    Page 21 of 50   PageID 14092



 Wyly, 1998 WL 13858, at *4 (Del. Ch. Jan. 6, 1998) (equitable standing allowed to

 challenge excessive compensation of directors because “to deny standing on these

 facts would insulate defendants from potential liability for their alleged misdeeds”),

 aff'd, 719 A.2d 490 (Del. 1998); In re AbbVie Inc. Stockholder Derivative Litig., No.

 9983-VCG, 2015 WL 4464505, at *4 (Del. Ch. July 21, 2015) (reaffirming Shaev’s

 view of equitable standing). If Appellees’ arguments were indulged, then Appellees

 scheme to delay and intentionally prevent HMIT’s GUC Certification could prevent

 HMIT from ever obtaining “standing.” Delaware law and policy do not allow this

 because courts “will not countenance a wrong to stockholders by fiduciaries that is

 both egregious and irremediable.” In re AbbVie Inc., 2015 WL 4464505, at *5.

       4.     Delaware law confers prudential standing on HMIT under the
              “Prevention Doctrine”

       Delaware law is clear that parties are not allowed to breach duties of good

 faith and fair dealing and then later harvest the benefits from those breaches. Such

 is the case here, where Seery refuses to certify HMIT’s vested status despite a good

 faith duty to do so. This is known as the “prevention doctrine,” which is derived

 from the RESTATEMENT (SECOND) OF CONTRACTS, Section 245, which provides:

            Where a party’s breach by non-performance contributes
            materially to the non-occurrence of a condition of one of his
            duties, the non-occurrence is excused.

       In Snow Phipps Group, LLC v. Kcake Acquisition, Inc., No. CV 2020-0282-



                                          15
Case 3:23-cv-02071-E      Document 38      Filed 04/03/24     Page 22 of 50     PageID 14093



 KSJM, 2021 WL 1714202, at *1 (Del. Ch. Apr. 30, 2021) the Delaware Court of

 Chancery barred a contracting party from invoking the failure of a condition

 precedent as an excuse to kill an asset purchase agreement where that party (the

 buyer) manipulated financial data to prevent the occurrence of the condition

 precedent, i.e., approval of lender financing. This holding was premised on the

 conclusion that there was an intent to sabotage the condition precedent. Id. at *56.

        Here, Seery’s failure, delay, and refusal to pay Classes 8 and 9 and issue the

 GUC Certification in a self-serving attempt to stall HMIT’s vesting, is similar to the

 fact pattern in Snow Phipps. Id.; see also Injective Labs Inc. v. Wang, No. CV 22-

 943-WCB, 2023 WL 3318477, at *7 (D. Del. May 9, 2023). Here, HMIT has alleged

 that it is in the money and should be “vested,”17 and, Appellees cannot alter this

 reality by parroting that the GUC Certification condition was not fulfilled. Delaware

 legal authorities are clear: “Delaware courts follow the principle that a party who

 wrongfully prevents a thing from being done cannot avail itself of the

 nonperformance it has occasioned.” W & G Seaford Associates, L.P. C. E. Shore

 Markets, Inc., 714 F. Supp. 1336, 1341 (D. Del. 1989). At a minimum, HMIT was

 entitled to seek declaratory relief on these issues.

        Finally, although the pleadings are sufficient to support vested status under an

 17
   See Estate of Cornell v. Johnson, 367 P.3d 173, 178 (Idaho 2016) (“[V]esting cannot be
 postponed by unreasonable delay in distributing an estate and [] when there is such delay,
 contingent interests vest at the time distribution should have been made.” (emphasis added)).

                                              16
Case 3:23-cv-02071-E      Document 38   Filed 04/03/24   Page 23 of 50   PageID 14094



 appropriate standard of review, the uncontroverted evidence introduced by HMIT

 underscores this standing. See, e.g., ROA. 009614-15 (testimony that there was

 approximately $150 million in assets available after payment of expenses and Class

 8 and Class 9 Claims).

       5.     HMIT is a “beneficial owner” under the DSTA

       Regardless, HMIT was and remains a “beneficial owner” under the Delaware

 Statutory Trust Act (“DSTA”). Section 3801 of the DSTA defines “beneficial

 owner” to mean “any owner of a beneficial interest in a statutory trust, the fact of

 ownership to be determined and evidenced … in conformity to the applicable

 provisions of the governing instrument of the statutory trust.”      Here, the CTA

 specifically recognizes HMIT’s initial contingent interest in the CTA. CTA at 3, 27-

 28, ROA.7369,ROA.7393-94. A “beneficial interest” includes both vested and

 contingent interests. HMIT Brief, pp.30-33; see also Scanlan v. Eisenberg, 669 F.3d

 838, 844 (7th Cir. 2012) (“. . . a contingent beneficiary can bring an action against

 the trustee—even though his interest is remote and contingent—to protect his

 possible eventual interest”); RESTATEMENT (THIRD) OF TRUSTS 94, cmt. B.

       Appellees incorrectly argue otherwise. Highland Brief, p.28. Although the

 CTA addresses when HMIT should be deemed a “Claimant Trust Beneficiary,”

 nowhere does the CTA limit the broad statutory term “beneficial interest.” Nor

 could it because the CTA specifically recognizes HMIT’s “contingent” interests.


                                          17
Case 3:23-cv-02071-E       Document 38    Filed 04/03/24     Page 24 of 50     PageID 14095



       Section 5.1(c) states that, upon the Effective Date, “the Claimant Trust shall

 issue Contingent Interests to” HMIT (Emphasis added). Pursuant to Section 5.4 of

 the CTA, under the title “Registry of Trust Interests,” the Claimant Trustee is

 required to keep “a registry of the Claimant Trust Beneficiaries and the Equity

 Holders [HMIT].” Thus, the language of the CTA, as the “governing document,” is

 clear that HMIT was issued and maintains a “beneficial interest.” Even if HMIT’s

 interest is only “contingent,” it is still a “beneficial interest.” Accordingly, this Court

 should reject Appellees’ argument that ignores controlling principles of contract and

 statutory construction.

        If Delaware law was otherwise, Seery could refuse to recognize HMIT’s

 vested status and breach his obligations of good faith with impunity. Indeed, if

 Appellees’ argument were correct, Seery could improperly prolong the underlying

 bankruptcy, continue to collect exorbitant fees, and deplete assets that should be

 distributed to HMIT. “Essentially that rule, which the Appellees ask [this Court] to

 adopt, would insulate” Seery from bad faith actions that deteriorate the trust res until

 HMIT is left with nothing. See Scanlan, 669 F.3d at 844. No authority supports this

 self-serving suggestion, and HMIT’s standing should not turn on whether Seery has

 declared HMIT a “Claimant Trust Beneficiary”—particularly when HMIT pleaded

 it is already vested and seeks a declaration to this effect.

        6.     HMIT’s status as a beneficial owner has been “continuous”


                                             18
Case 3:23-cv-02071-E    Document 38     Filed 04/03/24    Page 25 of 50   PageID 14096




       The Highland Brief, paragraph 59, argues that “only parties that are

 ‘beneficial owners’ of a trust continuously from ‘the time of the transaction of which

 the plaintiff complains through the time of bringing the action’ they sued

 derivatively on behalf of the trust.” As previously discussed, HMIT’s status as a

 “beneficial owner” has been continuous. HMIT Brief, p.30. The “transaction” at

 issue culminated post-Effective Date with the creation of the Claimant Trust.

 Pursuant to the Plan, as of the Effective Date, HMIT’s status as a beneficial owner

 under Delaware law was complete and remains so today. Its status as a beneficial

 owner was never impacted by the vesting language in the CTA. That is because

 HMIT’s “beneficial owner” status is derived from statute and includes both vested

 and contingent interests. See infra at 10-11.

       In any event, Delaware law holds that the “continuous” ownership

 requirement is properly suspended when the continuity of ownership is prevented by

 the defendant’s wrongful conduct. That is, a defendant should not be allowed to

 expediently manipulate the facts giving rise to standing to insulate itself from

 liability. See Shaev, 1998 WL 13858, at *4, Supra, p. 15, see also Bamford v.

 Penfold, L.P., 2020 WL 967942, at *29-30 (Del. Ch. Feb. 28, 2020) (“the continuous

 ownership requirement is itself a judicially created doctrine” that is subject to

 “equitable exceptions,” including “equitable exceptions to standing doctrines”).



                                           19
Case 3:23-cv-02071-E       Document 38       Filed 04/03/24      Page 26 of 50       PageID 14097



        7.      HMIT has individual injuries distinct from the Claimant Trust

        The Highland Brief, at p.33, challenges HMIT’s individual standing with the

 misleading argument that HMIT’s injury in fact is no different from the injury to the

 Claimant Trust. The OP Brief echoes this argument regarding a “particularized” and

 “concrete” injury. OP Brief, p.23. In doing so, Appellees ignore the fact that

 Appellees delayed the GUC certification which caused a unique, particularized harm

 directly to HMIT, and which did not otherwise impact the Claimant Trust or other

 interest holders.18 This fact, alone, destroys their argument.

 C.     HMIT is “in the money”

        Appellees argue that HMIT is not “in the money” because of HMIT’s

 purported “selective misreading of certain financial disclosures.” Highland Brief,

 p.30. This is ironic because Appellees presented no evidence that HMIT was wrong

 mathematically and, most important, Appellees previously declined to answer

 whether HMIT is in the money or not. 19

        Appellees’ briefing also ignores the asset values that were disclosed,

 specifically that, as of July 2023 (and before), the Claimant Trust had $247 million


 18
    The bankruptcy court also ignored HMIT’s actual allegations and proposed pleadings by stating
 “HMIT can only point to Seery’s excess compensation as injury.” ROA.904. This simply is not
 true and ignores HMIT’s well-pleaded allegations. ROA.3339 (“As part of the scheme, Seery is
 attempting to delay recognition of HMIT’s vesting of its interests under the CTA.”).
 19
   See ROA.3396 (Highland Parties’ Counsel: “Hunter Mountain…keep[s] telling the Court assets
 exceed liabilities. Assets exceed liabilities. And you know our position on that, Your Honor. They
 may; they may not.”) (emphasis added).

                                                20
Case 3:23-cv-02071-E         Document 38   Filed 04/03/24   Page 27 of 50   PageID 14098



 in assets and $139 million in remaining, unpaid Class 8 and 9 Claims.20 Instead,

 Appellees then retreat to the bankruptcy court’s incorrect reasoning that HMIT

 cannot be “in the money” because of “supplemental notes” purportedly “integral to

 understanding the numbers.” Highland Brief, p.30; ROA.1047. However, these

 “supplemental notes” refer to non-specific financial information that has not been

 disclosed in the bankruptcy proceedings. It was thus impossible for the bankruptcy

 court to rely on the supposed “integral” but undisclosed data. This is particularly true

 because the only other evidence demonstrated that Seery expediently allocated

 approximately $125 million in “indemnity reserves,” which will likely never be

 spent.21 In effect, Seery took $125 million out of the cash pipeline to purportedly

 insulate himself from liability even though the Plan excludes his right to

 indemnification for “willful misconduct,” which are the types of claims alleged in

 this case. 22 The only fair inference drawn from this gamesmanship is that Seery

 seeks to fabricate reasons not to certify and vest HMIT according to the CTA.

          But what remains clear is that the financial disclosures show well over $100

 million in assets remaining after full payment of the Classes 8 and 9,23 and that Seery

 is obligated under the CTA to (a) pay the remaining Class 8 and 9 claims in full, (b)

 20
      ROA.010033-34.
 21
      ROA.10065-65.
 22
      ROA.6779-80.
 23
      See ROA.10062-10134.

                                             21
Case 3:23-cv-02071-E        Document 38        Filed 04/03/24      Page 28 of 50       PageID 14099



 file the beneficiary certification, (c) vest the Class 10 and 11 Equity Interests, and

 (d) “not unduly prolong the duration of the Claimant Trust.”24

          1.    HMIT has standing to seek declaratory relief

          Appellees’ argument that HMIT is not entitled to pursue declaratory relief is

 incorrect. Highland Brief, p.47. HMIT has standing to seek declaratory relief,

 specifically regarding its rights under the CTA, and “[t]he existence of another

 adequate remedy does not preclude a declaratory judgment that is otherwise

 appropriate.” Fed. R. Civ. P. 57.25 At a minimum, there is a justiciable controversy

 and dispute and HMIT is entitled to seek declaratory relief concerning the vested

 status of its Contingent Interests under the CTA. Kirkman v. Wilmington Tr. Co., 61

 F. Supp. 651, 654 (D. Del. 1945).

 D.       The bankruptcy court impermissibly extended the Barton Doctrine

          The bankruptcy court also erred when misconstruing the appropriate

 “colorable” claim analysis. As drafters of the Plan and the Gatekeeper provisions,




 24
      See ROA.007377-81.
 25
   The Highland Brief, at p.48 argues that HMIT brings “claims for declaratory relief, but a request
 for declaratory relief is not an independent cause of action, [and] in the absence of any underlying
 viable claims such relief is unavailable.” (citing Green v. Wells Fargo Home Mtg., 2016 WL
 3746276, at *2 (S.D. Tex. June 7, 2016)). But Green is inapposite. There, the court dismissed a
 pro se plaintiff’s complaint because plaintiff plead “the same hackneyed claims that were so
 popular among distressed mortgagors several years ago, but quickly debunked by the federal
 courts.” Id. Despite acting pro se, the plaintiff sought a declaratory judgment and attorneys’ fees.
 Here, the detailed factual allegations are supported by robust pleadings which form an actual
 controversy proper for declaratory relief, including a declaration that HMIT is a vested beneficiary.

                                                  22
Case 3:23-cv-02071-E    Document 38      Filed 04/03/24    Page 29 of 50    PageID 14100



 the Highland Parties could easily have incorporated a Barton doctrine standard, but

 they did not do so. This choice must be construed as having consequence,

 particularly because the applied standard should be no more than what the Plan says:

 “colorable.” In re Phoenix Petroleum Co., 278 B.R. 385 (Bankr. E.D. Pa. 2001)

 (noting the general rule that ambiguities in plans are interpreted against the drafters)

 In re Deepwater Horizon, 732 F.3d 326, 342 (5th Cir. 2013); Richardson v. United

 States, 468 U.S. 317 (1984); Becker v. Noe, No. CV ELH-18-00931, 2019 WL

 1415483, at *18 (D. Md. Mar. 27, 2019). But the bankruptcy court, encouraged by

 Appellees, usurped the Plan it confirmed by straying from the “colorability”

 analysis.

       The Gatekeeper Provision was previously appealed, but limited by the Fifth

 Circuit. In re Matter of Highland Capital Management, L.P., 48 F.4th 419 (5th Cir.

 2022) (holding that the Plan’s non-debtor exculpation provision violated the

 Bankruptcy Code to the extent it extended beyond the debtor, unsecured creditors

 committee, and “Independent Directors”). But Appellees misstate the Fifth Circuit

 opinion by suggesting that the Court confirmed a broad Gatekeeper Provision on the

 basis of the Barton standard. At page 10 of their Brief, the Outside Purchasers state:

 “The Fifth Circuit rejected those arguments and found that the Gatekeeper Provision

 was “sound.” In re Highland Cap. Mgmt., 48 F.4th at 435, 439.




                                           23
Case 3:23-cv-02071-E          Document 38       Filed 04/03/24      Page 30 of 50   PageID 14101



           Although the Fifth Circuit confirmed that the Barton doctrine supports the

 power of a bankruptcy court to require a party to obtain leave before filing certain

 actions, 26 the Fifth Circuit also made clear that this requirement applied to any action

 in district court when the action is against the trustee or other court-appointed

 officer, for acts done in the actor’s official capacity. Id. at 438-39 (emphasis added).

 Here, at a minimum, the bankruptcy court misapplied the Fifth Circuit’s holding by

 extending Barton to a proposed adversary proceeding in the bankruptcy court and

 not the district court.

           The Barton doctrine is a limited doctrine, and its underlying policy reasons

 do not apply here. The doctrine is rooted in the “concern that if debtors could sue

 the trustee in a foreign jurisdiction, the foreign ‘court would have the practical power

 to turn bankruptcy losers into bankruptcy winners.’” Carroll v. Abide, 788 F.3d 502,

 506 (5th Cir. 2015) (citation omitted). Here, however, HMIT requested leave to file

 the proposed claim in the same bankruptcy court that administered the underlying

 claims. Thus, the Appellees encouraged the bankruptcy court to commit error when

 they urged a one-of-a kind extension of the Barton doctrine in the same court that

 entered the Gatekeeper Provision. 27 No Fifth Circuit case has ever applied the


 26
      Id. at 439 (citing Barton v. Barbour, 104 U.S. 126 (1881)).
 27
   See ROA.3430, ROA.3463. All of the cases the bankruptcy court relied upon were in the context
 of protecting a bankruptcy trustee in an action outside the bankruptcy court--facts which do not
 exist here.

                                                   24
Case 3:23-cv-02071-E       Document 38        Filed 04/03/24       Page 31 of 50      PageID 14102



 Barton doctrine to cloak corporate officers with judicial immunity and exculpate

 them from entire categories of claims against them—when the matter is filed within

 the bankruptcy court. See id.; In re Provider Meds, LP, 514 B.R. 473, 476 (N.D. Tex.

 2014). 28

        The bankruptcy court also ignored Fifth Circuit precedent by indulging

 Appellees’ arguments to use the Plan as a weapon to impose a vexatious litigation

 injunction. The Fifth Circuit recognized that the bankruptcy court could “follow[]

 the procedures” to designate Dondero or others as “vexatious litigations”—but held

 that “non-debtor exculpation within a reorganization plan is not a lawful means

 to impose vexatious litigant injunctions and sanctions.” In re Matter of Highland

 Capital Management, L.P., 48 F.4th at 439 n.19 (emphasis added). Despite this, the

 bankruptcy court wielded the Plan in precisely the way the Fifth Circuit rejected –

 and without ever declaring HMIT (or anyone) a vexatious litigant or “following the

 procedures” for that serious label.




 28
    The Appellees mischaracterize the bankruptcy court’s order when they suggest that evidentiary
 hearings under Barton are routinely conducted on motions for leave. This is not true as they are
 conducted (if at all) when a proposed case would be filed outside the bankruptcy court.
 Furthermore, Appellees’ argument that an elevated standard of review is necessary to assure that
 the Gatekeeper Provision offers protection beyond Rule 12(b)(6) proceedings (and is not neutered)
 is also misleading. The Gatekeeper Provision still has utility. Among other functions, it allows the
 bankruptcy court to make preliminary determinations of colorability, bringing to the equation a
 generalized knowledge of bankruptcy processes and proceedings. It also ensures that the
 colorability determinations are consistent with prior bankruptcy rulings. See Carroll, 788 F.3d at
 506.

                                                 25
Case 3:23-cv-02071-E      Document 38       Filed 04/03/24     Page 32 of 50      PageID 14103



         Instead of following Fifth Circuit precedent, the bankruptcy court co-opted

 the entire process and imposed its own version of “colorability” to include an

 unprecedented evidentiary hearing. Appellees cite no case where a court has applied

 such a standard or imposed such a proceeding, and there is none. Besides co-opting

 the process, the bankruptcy court also imposed its own definition of “colorability”

 by relying on vexatious litigation precedent—a standard not supported in the Fifth

 Circuit or Barton. And, as noted, neither the bankruptcy court nor any other court

 has ever found HMIT to be vexatious—as Appellees admit. See Highland Brief,

 p.38.

         Nor would the bankruptcy court have any basis to declare HMIT vexatious.

 While Appellees attempt to lump all so-called “Dondero Entities” together, the

 evidence conclusively shows that Mr. Dondero was not in control of or even

 consulted about HMIT’s proposed Complaint. 29 Regardless, there has been (and can

 be) no vexatious litigation finding against HMIT based upon the record before the

 bankruptcy court and this appellate record. The bankruptcy court nevertheless

 punished HMIT by imposing an unauthorized, inflated standard. On the other hand,



 29
    The bankruptcy court’s statement that Dondero controls HMIT because he was the first witness
 at the hearing is an unreasonable inference without any foundation. Dondero stated he had never
 seen a draft of HMIT’s proposed Complaint and Mark Patrick testified he was not involved in the
 decision making. ROA.9617 Likewise, the bankruptcy court’s reference to other proceedings
 concerning other entities, not including HMIT (ROA.876)—are irrelevant to HMIT and these
 proceedings.

                                               26
Case 3:23-cv-02071-E     Document 38       Filed 04/03/24    Page 33 of 50     PageID 14104



 a colorable claim is one with “some possible validity” based on allegations and not

 merits-based proof. See In re Deepwater Horizon, 732 F.3d 326, 340-41 (5th Cir.

 2013) (quoting Richardson, 468 U.S. at 326 n. 6)). Appellees satisfied that standard,

 and the bankruptcy court’s refusal to follow it is reversible error.

        The bankruptcy court also committed reversible error in how it applied its new

 arbitrary standard—by ordering that only two depositions would be allowed, no

 document discovery would be allowed, and no expert analysis would be considered.

 Once the bankruptcy court made its determination that the hearing would be

 evidentiary, full discovery and testimony was the only possible way to afford due

 process to HMIT – but HMIT was deprived of this right. 30 Because the bankruptcy

 court allowed evidence over HMIT’s objection, the issue turned from whether the

 proposed Complaint presented colorable claims to whether HMIT would ultimately

 be successful in the prosecution of its asserted claims—all with extremely limited

 discovery where HMIT was denied any documentary discovery, and denied

 deposition testimony from the Outside Purchasers. ROA.4960.

        The Outside Purchasers argue that HMIT is required “to show its claims are

 colorable before it is entitled to discovery.” OP Brief, p.19. But this places the



 30
   Compare ROA.4960 (holding “[n]one of the parties shall be entitled to any other discovery,
 including the production of documents…”), with ROA.6139, 6144, and 6568 (the purported
 “Documentary Compensation Evidence,” which the bankruptcy court allowed the Highland
 Parties to cherry-pick and redact, despite denying HMIT related documentary evidence).

                                             27
Case 3:23-cv-02071-E       Document 38       Filed 04/03/24      Page 34 of 50      PageID 14105



 proverbial “cart before the horse” because the bankruptcy court considered evidence,

 and conducted a trial, without allowing any discovery, which turns due process on

 its head.    The bankruptcy court then entered a 105-page opinion (filled with

 footnotes) weighing the credibility of witnesses and evidence, including findings of

 fact and considering evidence of events that were not presented at the hearing. See,

 e.g., ROA.873-74. This also turned the judicial process upside down.

        In this regard, the Highland Brief is a testament to the bankruptcy court’s error.

 It is chock-full of self-serving characterizations of the “evidence” from the June 8

 Hearing, and argues that the bankruptcy court “relied upon extensive and irrefutable

 evidence” to deny leave. Highland Brief, pp.14-15. Indeed, a majority of the

 Highland Brief fact section mischaracterized “evidence” that should never have been

 considered at this juncture. 31 To be sure, HMIT disputes the Highland Parties’

 characterizations. But, the fact that the bankruptcy court considered evidence

 providing Appellees with a platform to make self-serving arguments makes this

 entire proceeding (and Order) error.

 E.     HMIT has plead colorable and plausible claims



 31
    By way of example, the Highland Parties mischaracterize Jim Dondero’s “changing
 recollection” (Highland Brief, pp.25-27) that the so-called “Dondero Email” was false (pp. 13-17)
 and that it did not contain MNPI (pp.18-19), that compensation negotiations with Seery were
 purportedly “arm’s length” (p.24), and that there was no quid pro quo. (p.4). Incredibly, the
 Highland Parties argue that HMIT actually attempted to “smuggle” evidence into the proceedings
 through its expert proffer. (p. 5). None of these are supported by the record.

                                                28
Case 3:23-cv-02071-E           Document 38   Filed 04/03/24   Page 35 of 50   PageID 14106



          Under any fair analysis, HMIT has plead colorable and plausible claims which

 are also supported by evidence. HMIT Brief, p.45. Appellees’ argument that HMIT

 failed to allege facts supporting its claims for declaratory relief and breach of

 fiduciary duty is incorrect. HMIT Brief, pp.45-52. Appellees also ignore their unique

 control of relevant information, which allows more flexibility in a plaintiff’s

 pleading. See Chandler v. Phoenix Servs., 419 F. Supp. 3d 972, 988 (N.D. Tex. 2019)

 (“information and belief” pleadings permissible when the information is more

 accessible to the defendant).

          As stated in HMIT’s Opening Brief, p.45, HMIT alleged plausible and

 colorable claims that Seery breached his fiduciary duties and duties of good faith

 and fair dealing, 32 which include, but are not limited to avoiding delay of the

 distributions to Class 8 and 9 and distributing the assets in accordance with the CTA.

 HMIT’s pleadings set forth plausible factual allegations that Seery breached these

 duties and HMIT’s interest should be deemed vested. 33

 F.       The Bankruptcy Court’s Co-Opted Process is not Consistent with Fifth
          Circuit Precedent and Denied HMIT Due Process

          The Order Denying Leave relies upon numerous “fact findings” and

 credibility determinations inappropriate in a pre-pleading stage. These types of



 32
      See also Supra, FN 13.
 33
      HMIT Brief at pp.44-52, see also, ROA.003335-57, ROA.010062-10134.

                                               29
Case 3:23-cv-02071-E      Document 38     Filed 04/03/24     Page 36 of 50     PageID 14107



 determinations are inappropriate even at the summary judgment stage. Reese v.

 Bureau of Alcohol Tobacco Firearms & Explosives, 647 F. Supp. 3d 508, 516 (W.D.

 La. 2022) (citing Man Roland, Inc. v. Kreitz Motor Exp., Inc., 438 F.3d 476, 478

 (5th Cir. 2006)).

          As such, the bankruptcy court erred when it required HMIT to participate in a

 merits-based mini-trial, and then compounded this error when it ignored HMIT’s

 uncontroverted evidence and excluded HMIT’s expert witnesses. See Reese, 647 F.

 Supp. 3d at 516; Williams v. Time Warner Operation, Inc., 98 F.3d 179, 181 (5th

 Cir. 1996) (“weighing the evidence, assessing its probative value, or resolving any

 factual disputes” inappropriate before trial). Appellees’ briefs seek, but fail, to justify

 the bankruptcy court’s many erroneous fact findings, credibility determinations, and

 assessments of the probative value of evidence.

          1.      Seery was in possession of MNPI

          Appellees’ briefs attack the credibility of Mr. Dondero when discussing the

 so-called “Dondero Email,” 34 and whether this email contains MNPI. Highland

 Brief, p.51. An email from an active member of MGM’s Board of Directors

 concerning the probable sale of MGM is more than, and qualitatively different from,

 rumor, media speculation, and the varying news articles Appellees reference. See



 34
      ROA.6691.

                                             30
Case 3:23-cv-02071-E       Document 38        Filed 04/03/24      Page 37 of 50      PageID 14108



 United States v. Contorinis, 692 F.3d 136, 144 (2d Cir. 2012) (emphasis added).35

 Despite this, the bankruptcy court resolved this fact dispute by attacking Mr.

 Dondero’s credibility, akin to a factfinder at trial. But determination of the Motion

 for Leave should not have been based on a trial standard, much less on a mutated,

 unfair trial standard without meaningful discovery.36

        Appellees also regurgitate the bankruptcy court’s mischaracterization of Mr.

 Dondero’s testimony that he allegedly “admitted” he did not communicate MNPI.

 Highland Brief, p.14; OP Brief, p.21; ROA.852. This is a gross mischaracterization.

 Dondero testified that his duty was to relay as little information as possible and any

 purported additional information that was not expressly in his email, such as

 “Amazon hit the price,” was irrelevant and Mr. Dondero only “agreed” this

 information was not there because “it doesn’t have to and it’s not supposed to [be




 35
   Appellees cite SEC v. Cuban, 2013 WL 791405, at *33 (N.D. Tex. Mar. 5, 2013) to suggest
 information is not MNPI when it is “disclosed to achieve a broad dissemination to the investing
 public.” Highland Brief, p.51. This case is inapposite because it does not address the differences
 between rumor and “public dissemination,” and, significantly, considered the information
 “publicly disseminated” upon a public announcement of a “private investment in public equity”
 offering by the company—not rumored reports of potential sales. See id. at *1.
 36
    For example, the bankruptcy court relied on an October 2020 article reporting “mounting
 pressure to sell” and referenced Kevin Ulrich and reports that he is “working toward a deal.” See
 ROA.851. But neither Kevin Ulrich nor anyone else is a named source for this purported
 information—thus implicating the exact “source unknown” article the Second Circuit
 contemplated in Contorinis. See ROA.5840. In fact, the article specifically states that none of Mr.
 Ulrich or representatives for Apple, ComCast, Amazon, or Facebook responded to requests for
 information. ROA.5841-42. Regardless, the bankruptcy court should not be weighing the
 credibility of news articles and determining the probative value of disputed facts.

                                                 31
Case 3:23-cv-02071-E       Document 38        Filed 04/03/24       Page 38 of 50      PageID 14109



 included].”37

          Appellees also argue that the fact that the UBS claims were purchased later

 than the other Disputed Claims somehow undercuts HMIT’s claims. OP Brief, p.21.

 However, this is a “red herring” because it continues to ignore that MGM was not

 the only MNPI as part of the quid pro quo trade. HMIT Brief, p. 12-13. 38 The

 Appellees also ignore Mr. Dondero’s testimony that one of the Outside Purchasers

 expressly relied on conversations with Mr. Seery to the effect they would never sell

 their newly-acquired claims because the claims were too valuable (per Seery).39 So,

 even setting aside the Dondero Email, HMIT presented plausible (colorable)

 allegations, as well as supporting evidence, that Seery provided other MNPI to the

 Outside Purchasers. The bankruptcy court erred by disregarding these other factual

 averments.

          2.     Seery’s Compensation is Excessive and Never Approved by the
                 Court

          Appellees argue that Seery’s compensation was the product of “arms-length”



 37
      ROA. 9619 (emphasis added).
 38
    The Outside Purchasers also attempt to ratify their behavior by alleging that the “Claims Sellers
 sold their claims and put their involvement behind them.” OP Brief, p.24. However, there is no
 evidence of the negotiations, terms, waivers, or further involvement by the sellers in the record.
 Of course, this is because the bankruptcy court denied HMIT any document or deposition
 discovery, which was calculated to seek discovery concerning the terms and conditions that are
 not unusual in claims selling, including MNPI waivers, “Big Boy” letters, or further involvement
 from the claims sellers. See ROA.4696 n.18.
 39
    ROA.9594-96, 9602-04; see also ROA.3349-50.

                                                 32
Case 3:23-cv-02071-E        Document 38      Filed 04/03/24     Page 39 of 50   PageID 14110



 negotiations purportedly “fixed by the Plan and the Claimant Trust Agreement”

 Highland Brief, p.23, OP Brief, p.10. This is incorrect on both counts. Furthermore,

 whether the negotiations were “arm’s length” was a merits-based defense, and the

 bankruptcy court’s role was not to serve as a trial judge.

          Seery’s current compensation of $150,000 per month ($1.8 million annually),

 plus bonuses, was never approved by the bankruptcy court for post-Effective Date

 activities. Instead, Seery’s compensation (as Trustee) was to be revisited after the

 Effective Date, 40 but this never happened. 41 Seery’s compensation was also

 supposed to be reduced in 2022, but this also never happened.42 Although these facts

 alone reinforce the colorability of HMIT’s claims, there is even more.

          Seery admitted he had no prior experience as a bankruptcy claimant trustee,43

 he did not conduct any market study to support the reasonableness of his

 compensation,44 and he was not aware whether the Outside Purchasers (who control

 the Oversight Board and his financial package) conducted any market studies.45 In

 short, there was no oversight or support for Seery’s compensation as Trustee, post-



 40
      Section 3.13(a)(i) of CTA. ROA.7385, Order Confirming Plan. ROA.1693.
 41
      See ROA.9709 (Seery still making $150,000 salary per month).
 42
      ROA.9708-9709.
 43
      ROA.9669-70.
 44
      ROA.9711.
 45
      ROA.9711.

                                                33
Case 3:23-cv-02071-E        Document 38        Filed 04/03/24      Page 40 of 50       PageID 14111



 Effective Date. These facts demonstrate that his compensation was inconsistent with

 the Plan which stated that Claimant Trustee compensation shall be “consistent with

 that of similar functionaries in similar types of bankruptcy cases.” OP Brief, p.10.

 Also, Seery’s job responsibilities as Claimant Trustee following the Effective Date

 were substantially diminished. Now, nearly three years after the Effective Date,

 Seery’s duties remain reduced—but he continues to receive significant

 compensation despite refusing to conduct his limited remaining obligations and

 monetize all the assets to pay Claim 8 and Claim 9 Claimants.46

        Appellees’ briefs seek to bolster the bankruptcy court’s “rulings” concerning

 Seery’s compensation by arguing that HMIT had no “personal knowledge” of

 Seery’s actual compensation. But HMIT is entitled to rely on circumstantial

 evidence, and—regardless, at this stage—HMIT is entitled to plead upon

 “information and belief” because the direct evidence is uniquely within the hands of

 Appellees. See Chandler, 419 F. Supp. at 988.

        Lastly, the bankruptcy court allowed Seery to “cherry pick” and redact

 “Documentary Compensation Evidence” to bolster the Appellees’ “arm’s length”

 defense, but unfairly excluded HMIT’s expert testimony that contradicted it.



 46
   See ROA.3332-3367; HMIT Opening Br., pp. 28-29 (“Seery’s duties under the CTA also have
 not been fulfilled, and these breaches further support standing. Seery is obligated to: (a) pay the
 remaining Class 8 and 9 claims in full, (b) file the beneficiary certification, (c) vest the Class 10
 and 11 Equity Interests, and (d) ‘not unduly prolong the duration of the Claimant Trust.’”).

                                                  34
Case 3:23-cv-02071-E      Document 38    Filed 04/03/24    Page 41 of 50    PageID 14112



 Highland Brief, p.24. Curiously, the so-called “arms-length” negotiations resulted in

 no change to Seery’s compensation despite his diminished responsibilities.

          The bankruptcy court’s double standard was clearly unfair. The bankruptcy

 court excluded HMIT’s experts as “unhelpful”—on the basis that the bankruptcy

 court had prior experience with claims negotiation. Yet a court may have personal

 experience with lots of things, but that does not negate a party’s right to adduce an

 expert who holds a different view; after all, a court is required to rely on the record,

 not its extra-record personal experiences. Here, the bankruptcy court’s reasoning is

 made even more unsound by the fact that it (1) credited Seery’s testimony on the

 matter, (2) did not conduct a Daubert inquiry, (3) never heard HMIT’s experts’

 opinions, and (4) struck HMIT’s offer of proof. 47 Each of these errors destroyed

 HMIT’s right to due process.

          3.    Public Information was insufficient to support Outside
                Purchasers’ claims purchase

          Appellees also challenge the significance of the pre-sale public information.

 Highland Brief, p.21. Each of the Disputed Purchases occurred prior to the Effective

 Date when HMIT still owned a 99.5% equity stake in HCM.48 At that time, the only

 publicly available information was derived from the Debtor’s Disclosure Statements,



 47
      ROA.10025.
 48
      ROA.001855, ROA.001864-65.

                                            35
Case 3:23-cv-02071-E       Document 38        Filed 04/03/24      Page 42 of 50      PageID 14113



 which publicly projected payment of only 71.32% for Class 8 claims and nothing

 for Class 9 claims. 49 Mr. Dondero separately testified that the Debtor’s public

 disclosures were scant, and did not provide meaningful details concerning the

 Debtor’s assets at that time.50 He also testified there was no way third-party strangers

 to the bankruptcy, such as the Outside Purchasers, could actually appreciate the

 details of the Debtor’s investments without substantial due diligence, but there was

 none.51

          The uncontroverted evidence is that the Outside Purchasers invested over

 $160 million to buy 52 the Disputed Claims without conducting due diligence. 53

 Seery (the Debtor’s CEO) himself testified that there was no data room to allow due

 diligence. 54 Dondero separately testified that due diligence on such risky

 investments typically would involve the Debtor’s legal staff, its business

 professionals, and third-party financial analysts and law firms. 55 But Appellees



 49
      ROA.001866.
 50
      ROA.9574.
 51
      ROA. 9573-74.
 52
   The Highland Parties’ claim that these allegations were based on “rank speculation” (Highland
 Brief, p.24) is misplaced. HMIT is entitled to plead on information and belief. Supra. The Highland
 Parties cannot hide information and then proclaim a pleading is baseless—particularly here where
 evidence produced three days before the hearing proved that pleadings were accurate.
 53
      ROA.001866; ROA 009698.
 54
      ROA.009696-97.
 55
      ROA.009586-87

                                                 36
Case 3:23-cv-02071-E           Document 38   Filed 04/03/24   Page 43 of 50   PageID 14114



 presented no evidence that any of this happened.

           As well-pled in HMIT’s Complaint, and corroborated by Dondero’s testimony,

 Farallon rejected selling its claims for a significant premium (40%) above what it

 initially paid just a few weeks before. 56 While Dondero was understandably

 incentivized to regain control of the company he founded, the Outside Purchasers

 relied on Seery’s promise that the newly acquired claims would be even more

 valuable. 57 This was never controverted by the Outside Purchasers.

           While Appellees and the bankruptcy court rely on mere projections in their

 analysis,58 the real math is telling. The Outside Purchasers invested an estimated

 $160 million to acquire unsecured claims when the Debtor’s public disclosures

 indicated a $0 return for Class 9 claims and, a substantial risk that the par value of

 the Class 8 claims would never be recouped. 59 The huge risks of the investment

 could never rationally justify the meager return projected from publicly available

 information – and absent the MNPI disclosed by Seery. Again, the bankruptcy court

 erroneously excluded HMIT’s experts on this issue finding them “unhelpful.”

           Dondero also testified that distressed investments are typically the most

 “diligenced” items due to lower asset value, the reduced ability to and timing of

 56
      ROA. 006693-95; ROA.009589-96.
 57
      ROA.9594-96;ROA.3349.
 58
      Highland Brief, p. 22.
 59
      ROA.001866.

                                               37
Case 3:23-cv-02071-E      Document 38      Filed 04/03/24     Page 44 of 50     PageID 14115



 monetization of the assets, and associated litigation risks.60 But, even within this

 context, the Outside Purchasers never explained how they justified their investments

 with the attendant economic risks and without due diligence, despite their fiduciary

 duties to their own investors to do so. 61

          4.    Other mischaracterizations and merits based attacks

          The Highland Brief, p.11, erroneously argues that the bankruptcy court

 properly denied leave because it was Dondero’s “eighth” attempt to assert “insider

 trading” allegations. Not only is this statement false, it speculates concerning the

 undisclosed conclusions of two state court judges in unrelated proceedings that have

 no preclusive effect.

          The purported “three Rule 202 petitions” to which the Highland Parties 62 refer

 actually involved only two separate proceedings, and only one involved HMIT. In

 that instance, the state court’s general order did not state its reasoning, and the denial

 was without prejudice. That “without prejudice” denial makes sense because the

 Outside Purchasers’ repeatedly argued to the state court that the bankruptcy court

 was a more efficient forum to address discovery issues. See ROA.002191-92. But

 when HMIT got to the bankruptcy court and requested virtually identical discovery,


 60
      ROA.009587
 61
      ROA.003334.
 62
   Appellees mischaracterize these proceedings by suggesting that “Dondero filed” HMIT’s prior
 Rule 202 Petition. OP Brief, p.12. This is not true.

                                              38
Case 3:23-cv-02071-E      Document 38    Filed 04/03/24    Page 45 of 50   PageID 14116



 the Outside Purchasers successfully opposed it. ROA.004959; see ROA.009884.

 The state court proceedings, therefore, offer Appellees no support and, instead,

 reflect the disingenuousness of their arguments.

          The Highland Parties next argue that the closing of other investigations—such

 as the investigation by the Texas State Securities Board (“TSSB”)—suggests that

 HMIT’s Motion for Leave was meritless. Highland Brief, p.12. Although

 investigations such as that conducted by the TSSB may have some probative value,

 it is only one piece of a much larger mosaic. This is because the investigating

 agency’s motivations are different. Moreover, the TSSB opened an investigation,

 which suggests that the allegations are, at least, colorable.

          The Highland Parties next argue (Highland Brief, p.25) that Mr. Dondero’s

 “changing recollections” somehow prove that HMIT’s allegations are contrived. But

 they mischaracterize Mr. Dondero’s testimony, and nothing in Dondero’s

 contemporaneous notes, his Declarations, or his testimony, was rebutted by the

 Outside Purchasers. HMIT Brief, pp.18-19, 59. The Outside Purchasers’ silence is

 deafening.63

          The Highland Parties’ attacks on Mr. Dondero’s testimony are predicated, in

 part, on the notion that his notes do not mention every detail of his conversations.



 63
      ROA.9564.

                                            39
Case 3:23-cv-02071-E      Document 38    Filed 04/03/24   Page 46 of 50   PageID 14117



 Highland Brief, p.26. In essence, the Highland Parties argue that Mr. Dondero

 should not be believed because he failed to transcribe his telephone conversations

 verbatim as a court reporter. But the fact that Appellees make this argument

 underscores the inherent error in the proceedings. Mr. Dondero’s credibility—and

 Appellees’ mischaracterizations about an earlier declaration Mr. Dondero had

 signed—should not have been at issue at this pre-pleading stage. See Reese, 647 F.

 Supp. 3d at 516 (credibility determinations, assessments of probative value of

 evidence and court’s inferences drawn are not be considered before factfinding at

 trial).

 G.        The Bankruptcy Court Erred in Ignoring Stern v. Marshall

           Appellees’ citation-less arguments concerning Stern v. Marshall, 564 U.S.

 462 (2011), miss the point. Highland Brief, pp.34-35. Appellees argue that HMIT’s

 Stern v. Marshall objection “comes far too late” but they ignore that the bankruptcy

 court’s hybrid “additional level of review” procedure is far outside the scope of the

 Gatekeeper Provision the Fifth Circuit actually considered. See Highland Cap., 48

 F. 4th at 435. By straying afield of the Gatekeeper Provision, and redefining

 “gatekeeper” to mean “trial judge,” the bankruptcy court effectively “enter[ed] final

 judgment on claims that derive from state law and do not invoke substantive rights

 provided by title 11.” Stern v. Marshall, 564 U.S. 462 (2011).




                                           40
Case 3:23-cv-02071-E     Document 38     Filed 04/03/24     Page 47 of 50    PageID 14118



       Appellees cannot avoid the simple truth that the Gatekeeper Provision does

 not allow the bankruptcy court to do what it did. It lacks constitutional authority to

 enter final orders or judgments in non-core claims. See Exec. Benefits Ins. Agency v.

 Arkison, 573 U.S. 25, 31 (2014). As stated in HMIT’s Opening Brief, p.52, HMIT’s

 proposed claims for breach of fiduciary duty, aiding and abetting, conspiracy, and

 unjust enrichment are state law claims outside the bankruptcy court’s jurisdiction.

 See In re Allied Sys. Holdings, Inc., 524 B.R. 598 (Bankr. D. Del. 2015). HMIT’s

 proposed claims do not challenge actions “in connection with implementation of the

 Plan and the Claimant Trust.” As HMIT has made clear, HMIT’s proposed claims

 focus on the abuses that occurred outside of the bankruptcy court—and its Stern v.

 Marshall challenge is therefore preserved and dispositive.

 H.    HMIT’s Proposed Claims are Brought for a Proper Purpose and With
       Foundation

       The Highland Brief, p.56, alleges that the “purpose” of the Gatekeeper

 Provision is to protect protected parties from harassing litigation, and that it is based

 on findings of fact which were “left undisturbed by the Fifth Circuit.” Highland

 Brief, p.8. But as discussed, the Fifth Circuit expressly admonished that the

 Gatekeeper Provision, “is not a lawful means to impose vexatious litigant injunctions

 and sanctions.” In re Matter of Highland Capital Management, L.P., 48 F.4th at 439

 n.19. Here, as applied, the bankruptcy court ignored the Fifth Circuit’s admonition



                                            41
Case 3:23-cv-02071-E     Document 38    Filed 04/03/24   Page 48 of 50   PageID 14119



 and elevated the standard of review to include a standard intended for vexatious

 litigants. See ROA.922 (“[T]he court views jurisprudence applying the Barton

 doctrine and vexatious litigant injunctions—while not specifically addressing the

 ‘colorability’ standard under gatekeeping provisions in a plan—as more informative

 on how to approach ‘colorability.’”)

          As discussed, HMIT is not—and has never been deemed—a vexatious

 litigant. Supra. Moreover, the record conclusively establishes that HMIT’s Motion

 for Leave was filed for a proper purpose, and with foundation. Mr. Dondero also

 testified he has no legal control over HMIT, and he had never seen a draft of HMIT’s

 proposed Complaint.64 No evidence supports that HMIT is an “alter ego” of Mr.

 Dondero. 65 The bankruptcy court’s claim that “Dondero is the driving force behind

 HMIT’s Motion for Leave” is error and relies on unsupported speculation. See Order

 Denying Leave, p.42. By urging otherwise, Appellees invited reversible error. OP

 Brief, p.5 (noting that “Dondero or his [undefined] affiliated entities objected to

 settlements negotiated by the Debtor”). Simply put, the bankruptcy court ignored the

 conclusive evidence to fashion new “findings” based on incorrect, irrelevant and

 unrelated matters outside the record and not involving HMIT.

 I.       The notices under Bankruptcy Rule 3001 are irrelevant


 64
      ROA.9570-71;ROA.9617.
 65
      ROA.9570-71.

                                          42
Case 3:23-cv-02071-E    Document 38     Filed 04/03/24    Page 49 of 50    PageID 14120



       The Outside Purchasers’ claim that there was no objection filed to the claims

 transfer notices under Federal Rule of Bankruptcy Procedure 3001 is another red

 herring. OP Brief, p.5. HMIT did not have knowledge at that time that the trades

 were part of a larger quid pro quo arrangement to exchange MNPI for an excessive

 compensation package for Seery. HMIT timely brought its Motion for Leave to

 address its tort claims which are separate and distinct from any generic claims

 trading objection.

                                V.     CONCLUSION

       Appellant, Hunter Mountain Investment Trust (“HMIT”), respectfully

 requests that the Court reverse the Order Denying Leave, reverse the Order Denying

 Further Relief, render a decision granting HMIT leave to bring its claims

 individually and derivatively and, based upon the appellate record before this Court,

 reassign this matter to a new bankruptcy court for further disposition upon remand.

 See Miller v. Sam Houston State Univ., 986 F. 3d 880, 893 (5th Cir. 2021).

 Alternatively, to the extent necessary, in the unlikely event the Court determines that

 HMIT’s factual allegations do not satisfy Rule 12(b)(6) pleading requirements, that

 the Court make its finding without prejudice and permit HMIT the opportunity to

 replead, consistent with the Federal Rules of Civil Procedure and Bankruptcy Rules

 of Procedure. HMIT also seeks such other and further relief, special or general, to

 which HMIT is justly entitled.


                                           43
Case 3:23-cv-02071-E     Document 38   Filed 04/03/24   Page 50 of 50   PageID 14121



                   VI.     CERTIFICATE OF COMPLIANCE

       This document complies with the word limit of FED. R. BANKR. P.

 8015(a)(7)(B) because, excluding the parts of the document exempted by FED. R.

 BANKR. P. 8015(g), this document contains 10,204 words; and

       This document complies with the typeface requirements of FED. R. BANKR. P.

 8015(a)(5) and the type-style requirements of FED. R. BANKR. P. 8015(a)(6) because:

 this document has been prepared in a proportionally spaced typeface Microsoft

 Word in size 14 font, Times New Roman.

                                       /s/ Sawnie A. McEntire
                                       Sawnie A. McEntire




                                         44
